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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

DANIEL BANYAI                          :
                                       :
          Plaintiff,                   :
                                       :
          v.                           :     Case No. 2:23-cv-00101
                                       :
TOWN OF PAWLET, JUDGE THOMAS S.        :
DURKIN, and JOHN AND JANE DOE          :
1 through 20, whose identities         :
are unknown at present                 :
                                       :
          Defendants.                  :

                          OPINION AND ORDER

     Plaintiff, Daniel Banyai, has filed this action against

Defendants Town of Pawlet, Judge Thomas S. Durkin, and others

for alleged constitutional violations arising out of a multi-

year litigation in Vermont state court concerning the

Plaintiff’s zoning violations. Defendants Town of Pawlet and

Judge Thomas S. Durkin have moved to dismiss the Plaintiff’s

complaint in its entirety pursuant to Federal Rules of Civil

Procedure 12(b)(1) and (6). Plaintiff subsequently filed a

motion to amend the complaint. For the reasons set forth below,

Defendants’ motions to dismiss are granted, and Plaintiff’s

motion to amend the complaint is denied.

                               BACKGROUND

     Plaintiff has been the subject of a zoning enforcement

action brought by the Town of Pawlet against the Plaintiff that
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is currently before Judge Durkin, a Vermont Superior Court judge

assigned to the Environmental Division. Mr. Banyai owns a 30±

acre property in Pawlet, Vermont (“the Property”) on which he

has been operating a firearms training facility since 2017 under

the business name of “Slate Ridge.” ECF 1 at 5, ¶ 20. In

December 2017, Mr. Banyai filed an application for a zoning

permit with the Town seeking approval for a “school building”

for Slate Ridge, which he started constructing 2017. ECF 11 at

5, ¶ 21. His permit application was denied due to his property’s

non-compliance with a right-of-way Bylaw amendment, and Mr.

Banyai did not appeal (“January 2018 Denial”). ECF 1 at 6, ¶ 23.

     In April 2018, Mr. Banyai applied to the Town of Pawlet

Development Review Board (“DRB”) for a variance from the right

of way requirement. ECF 1 at 6, ¶ 26. The DRB determined that no

variance was required because his property was a pre-existing

nonconforming lot. ECF 1 at 7, ¶ 30. The DRB therefore advised

Mr. Banyai to submit a new permit application for the “school

building.” Neighboring landowners appealed this decision, but

while the appeal was pending, Mr. Banyai acquired a zoning

permit for a “school building” on his property (“June 2018

Permit”) after the Zoning Administrator issued a notice of

violation (“NOV1”) to the Plaintiff regarding the unpermitted

construction of the building. ECF 1 at 7-8, ¶¶ 31-32. The

Environmental Court determined that the January 2018 Denial

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precluded Mr. Banyai from raising the pre-existing non-

conforming parcel argument, and remanded to the DRB with

instructions to consider the merits of the variance. ECF 1 at 8,

¶ 35. On remand, the DRB denied Mr. Banyai’s variance

application; Mr. Banyai did not appeal. Id.

     Subsequently, the Town’s Zoning Administrator issued a

second notice of violation to Mr. Banyai on August 29, 2019

(“NOV2”) requiring Mr. Banyai to remove all unpermitted uses and

structures on the property. ECF 1 at 9, ¶ 37. Mr. Banyai did not

comply with NOV2, nor did he appeal NOV2 to the DRB. ECF 1 at 9,

¶ 38-41.

     In September 2019, the Town filed an application to enforce

NOV2 in the Environmental Court. ECF 1 at 9, ¶ 42. In the course

of the enforcement action, Judge Durkin of the Environmental

Court informed Mr. Banyai that the Zoning Administrator who had

issued the June 2018 permit lacked jurisdiction to do so given

the pending status of the appeal, and that the permit was

therefore invalid. Id. Following an evidentiary hearing,

Judge Durkin entered a Decision on the Merits and Judgment Order

on March 5, 2021 (“March 5 Order”). ECF 1 at 10, ¶ 43. The March

5 Order required Mr. Banyai to professionally survey his

property, and upon completion of a site plan, to immediately

deconstruct and remove all unpermitted structures on his

property. ECF 1 at 10, ¶ 44. The March 5 Order also issued fines

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at a rate of $100 per day from the date NOV2 was issued to the

date of the trial on December 16, 2020. ECF 1 at 11, ¶ 45.

     Mr. Banyai did not comply with the March 5 Order, and the

Town filed an initial contempt motion on April 21, 2021. On May

3, 2021, Mr. Banyai appealed the March 5 Order under an

authorized extension to file an appeal. ECF 1 at 11, ¶ 46. The

Vermont Supreme Court affirmed the March 5 Order on January 14,

2022. ECF 1 at 11, ¶ 47.

     After the appeal, Mr. Banyai still did not comply with NOV2

or the March 5 Order. On February 10, 2022, the Town renewed its

contempt motion. After several hearings, Judge Durkin issued a

Decision on Post-Judgment Motion for Contempt and Fines

(“Contempt Order”), imposing curable fines to compel compliance

with the March 5 Order and explaining that failure to comply may

result in Mr. Banyai’s imprisonment until such time as the

violations on the property are cured. ECF 1 at 12. ¶ 53. Mr.

Banyai moved the Environmental Court to reconsider the Contempt

Order, which Judge Durkin denied in an Order dated March 3. ECF

1 a3, ¶ 56. Mr. Banyai did not timely appeal.

     The controversy before this Court follows the post-judgment

contempt action concerning the municipal action against Mr.

Banyai and enforcing the notice of violation against him.

Instead of complying with the Environmental Court’s several

orders, Plaintiff has turned to the federal court for relief.

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Plaintiff raises four claims against Judge Durkin and the Town

of Pawlet under 42 U.S.C. § 1983: (1) violation of the Equal

Protection Clause of the Fourteenth Amendment for selective

prosecution; (2) violation of the Equal Protection Clause for

differential treatment; (3) violation of the Due Process Clause

of the Fourteenth Amendment for deprivation of his property

interests; and (4) Second Amendment violations. ECF 1 at 13-19.

Plaintiff asks the Court to overturn the March 5, 2021 merits

decision, reinstate the June 2018 Permit, and bar enforcement of

all subsequent orders against him enforcing that decision. ECF 1

at 20.

     As part of his initial filing, Plaintiff filed a motion for

a Temporary Restraining Order, Preliminary Injunction and/or

Permanent Injunction (ECF 2), which this Court denied (ECF 11).

Defendants Judge Durkin and Town of Pawlet now move the Court to

dismiss the complaint in its entirety, and Plaintiff has

requested leave to amend the Complaint.

     Defendant Judge Durkin moves the Court to dismiss

Plaintiff’s complaint on the basis of judicial immunity and the

Rooker-Feldman and Younger abstention doctrines. Defendant Town

of Pawlet argues that the abstention doctrines and claim

preclusion bar Plaintiff’s complaint. For the reasons set forth

below, Defendants’ motions to dismiss are granted, Plaintiff’s



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motion to amend is denied, and the complaint is dismissed in its

entirety.

                            Legal Standard

     “[W]hen ruling on a defendant’s motion to dismiss, a judge

must accept as true all of the factual allegations contained in

the complaint,” Erickson v. Pardus, 551 U.S. 89, 94 (2007), and

“draw[ ] all reasonable inferences in favor of the plaintiff,”

Daniel v. T & M Prot. Res., Inc., 992 F.Supp.2d 302, 304 n.1

(S.D.N.Y. 2014) (citing Koch v. Christie’s Int’l PLC, 699 F.3d

141, 145 (2d Cir. 2012)). The Court owes no deference, however,

to Plaintiff’s legal conclusions; the Court is “not bound to

accept as true a legal conclusion couched as a factual

allegation.” Papasan v. Allain, 478 U.S. 265, 286 (1986) (cited

with approval in Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)).

     To survive a Rule 12(b)(6) motion to dismiss, a pleading

“must contain sufficient factual matter, accepted as true, to

‘state a claim for relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570); see

also Fed. R. Civ. P. 8(a)(2). “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Iqbal,

556 U.S. at 1949 (quoting Twombly, 550 U.S. at 556). The Court

must also draw all reasonable inference in favor of the non-

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moving party, but set aside all conclusory allegations and legal

assertions. Lanier v. Bats Exch., Inc., 838 F.3d 139, 150 (2d

Cir. 2016).

     Dismissal is appropriate when “it is clear from the face of

the complaint, and matters of which the court may take judicial

notice, that the plaintiff's claims are barred as a matter of

law.” Conopco, Inc. v. Roll Int'l, 231 F.3d 82, 86 (2d Cir.

2000).

     In the Rule 12(b)(1) context, the Court may refer to

evidence outside the pleadings. Zappia Middle E. Constr. Co.

Ltd. V. Emirate of Abu Dhabi, 215 F.3d 247, 254 (2d Cir. 2000).

Under Rule 12(b)(1), the “plaintiff bears the burden of proving

the Court’s jurisdiction by a preponderance of the evidence.”

Graham v. Select Portfolio Servicing, Inc., 156 F. Supp. 3d 491,

499 (S.D.N.Y. 206) (citing Makarov v. United States, 201 F.3d

110, 113 (2d Cir. 2000)). This is in contrast to the 12(b)(6)

context, where the movant bears the burden. Feldheim v. Fin.

Recovery Servs., Inc., 257 F. Supp. 3d 361, 365 (S.D.N.Y. 2017).

(“This allocation of the burden of proof is the only substantive

difference between the standards of review under these two

rules.” (internal quotation omitted)).

     For a complaint to survive a motion to dismiss at this

stage of litigation, it must “contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible

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on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 570 (2007)).

I.   Defendant Judge Durkin’s Motion to Dismiss on account of
     Judicial Immunity

     “[I]t is a general principle of the highest importance to

the proper administration of justice that a judicial officer, in

exercising the authority vested in him, shall be free to act

upon his own convictions, without apprehension of personal

consequences to himself.” Mireles v. Waco, 502 U.S. 9, 11

(1991). The well-settled principle of judicial immunity avows

that “judges of courts of superior or general jurisdiction are

not liable to civil actions for their judicial acts.” Stump v.

Sparkman, 435 U.S. 349 (1978) (quoting Bradley v. Fisher, 80

U.S. 335 (1871)). “The cases indicate that the federal common

law on judicial immunities applies even to state officials when

they are sued in federal court on federal claims.” Gross v.

Rell, 585 F.3d 72, 80 (2d Cir. 2009).

     Judicial immunity applies to a judge’s judicial conduct,

i.e., actions made in their judicial capacity. Mireles, 502 U.S.

at 11. A judge’s actions “taken in the complete absence of all

jurisdiction,” or made in their personal or administrative

capacity do not benefit from judicial immunity. Id.

     Plaintiff’s complaint takes issue with Judge Durkin’s

judicial actions. The Complaint alleges constitutional


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violations arising from state court orders resolving the

municipal zoning dispute before Judge Durkin in his judicial

capacity as a Vermont Superior Court judge assigned to the

Environmental Division. Accordingly, Plaintiff’s complaint

includes no plausible claim against Judge Durkin that survives

judicial immunity as each claim relates to matters within the

jurisdiction of the Environmental Division of the Vermont

Superior Court. See, e.g., 4 V.S.A. §§ 30, 34. Accordingly, the

Court finds that Judge Durkin is immune from this suit and

grants Defendant Judge Durkin’s motion to dismiss.

II.   The Town of Pawlet’s Motion to Dismiss on account of Lack
      of Subject Matter Jurisdiction under the Rooker-Feldman
      Doctrine

      The Court next turns to Defendant Town of Pawlet’s Rule

12(b)(1) motion to dismiss for lack of jurisdiction pursuant to

the Rooker-Feldman doctrine. “Because Rooker–Feldman goes to

subject-matter jurisdiction,” Hoblock v. Albany Cnty. Bd. of

Elections, 422 F.3d 77, 88 (2d Cir. 2005), “[a] motion to

dismiss based on the abstention doctrine is . . . considered as

a motion made pursuant to Rule 12(b)(1).” City of New York v.

Milhelm Attea & Bros., Inc., 550 F. Supp. 2d 332, 341-42

(E.D.N.Y. 2008).

      “Under the Rooker-Feldman doctrine, federal district courts

lack jurisdiction over cases that essentially amount to appeals

of state court judgments.” Vossbrinck v. Accredited Home

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Lenders, Inc., 773 F.3d 423, 426 (2d Cir. 2014) (citing Exxon

Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 283–84

(2005)). The Rooker-Feldman doctrine rests on the principle that

“appellate jurisdiction to reverse or modify a state-court

judgment is lodged . . .    exclusively in [the Supreme] Court.”

Exxon Mobil, 544 U.S. at 283.

     The Supreme Court has made clear, however, that Rooker-

Feldman occupies a “narrow ground” that applies in only “limited

circumstances.” Exxon-Mobil, 544 U.S. at 284, 291. Application

of the doctrine “is confined to cases of the kind from which the

doctrine acquired its name: cases brought by state-court losers

complaining of injuries caused by state-court judgments rendered

before the district court proceedings commenced and inviting

district court review and rejection of those judgments.” Id. at

284. To ensure that courts “avoid extending Rooker-Feldman

beyond the narrow circumstances in which it properly applies,”

Hunter v. McMahon, No. 21-1473, 2023 WL 4671281, at *4 (2d Cir.

July 21, 2023), the Second Circuit applies a four-part test to

assess application of the doctrine.

     Rooker–Feldman directs federal courts to abstain from
     considering claims when four requirements are met: (1)
     the plaintiff lost in state court, (2) the plaintiff
     complains of injuries caused by the state court
     judgment, (3) the plaintiff invites district court
     review of that judgment, and (4) the state court
     judgment was entered before the plaintiff's federal
     suit commenced.


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McKithen v. Brown, 626 F.3d 143, 154 (2d Cir. 2010).

     Here, Plaintiff has lost in state court on several

occasions, and no state-court appeal was pending when this suit

was filed. The Second Circuit has explained that “state court

proceedings must have either reached finality or yielded an

order that satisfies ‘the exceptions to the finality

requirement’ … [that] trigger the exclusive appellate

jurisdiction of the Supreme Court.” Hunter, No. 21-1473, 2023 WL

4671281 at *5 (quoting ASARCO Inc. v. Kadish, 490 U.S. 605, 612

(1989)). In other words, “[p]roceedings end for Rooker-Feldman

purposes when the state courts finally resolve the issue that

the federal court plaintiff seeks to relitigate in a federal

forum.” Mothershed v. Justs. Of the Sup. Ct., 410 F.3d 602, 604

n.1 (9th Cir. 2005). In the Second Circuit, Rooker-Feldman has

applied where “the plaintiffs filed the present action” after

the time to appeal the state-court decision had passed without

timely appeal, “and therefore it appear[ed] that the state-court

proceedings had ended.” Thomas v. Martin-Gibbons, 857 F. App’x

36, 38 & n.2 (2d Cir. 2021); see also Powell v. Ocwen Loan

Servicing, LLC, 840 F. App’x 610, 612 (2d Cir. 2020) (same).

     In this case, Plaintiff is subject to several final state-

court judgments. Plaintiff first lost in the Environmental Court

in the appeal of the DRB’s finding that his property was a pre-

existing non-conforming lot. ECF 1 at 8, ¶ 35. The Environmental

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Court held that the initial denial of Mr. Banyai’s January 2018

permit application precluded him from raising the argument that

his property was a pre-existing nonconforming lot. Plaintiff did

not appeal that decision, and thus it was final. Plaintiff then

lost in the Environmental Court after the Town of Pawlet filed

an action to enforce NOV2. In the March 5, 2021 decision on the

merits following an evidentiary hearing, Judge Durkin entered a

declaratory judgment in favor of the Town, voiding the June 2018

permit, ordering the removal of all “buildings” on Mr. Banyai’s

property that were not authorized by a valid zoning permit, and

enjoining Mr. Banyai from operating a shooting school on his

property. ECF 1-1. Mr. Banyai timely appealed the March 5

Decision to the Vermont Supreme Court, where his loss was

affirmed. Town of Pawlet v. Banyai, 2016 Vt. 189, 193 (2022).

The March 5 Order is therefore final.

     Most recently, Plaintiff lost in the Environmental Court

during the Town’s contempt proceedings against him after he

refused to comply with the March 5 Order; Mr. Banyai lost during

the Town’s action for contempt and fines, (ECF 1-2) and again on

his motion to have the Contempt Order reconsidered (ECF 11 at

5). Plaintiff did not timely appeal these Contempt Decisions,

and thus they are final.

     Each of these final judgments were rendered against the

Plaintiff before he filed suit in this District. Accordingly,

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Plaintiff’s present action meets the first and fourth elements

of Rooker-Feldman, that the federal court plaintiff lost in

state court prior to the commencement of plaintiff’s federal

suit. Hoblock, 422 F.3d at 85.

     Each of Plaintiff’s claims additionally meet the third

Rooker-Feldman requirement: that the plaintiff invite district

court review of the state-court’s judgment. Id. Plaintiff asks

the Court to terminate the permanent injunction against his

property prohibiting any firearms-related activity; to revoke

NOV2, which both the Environmental Court and Vermont Supreme

Court found valid; to reinstate the June 2018 permit that the

March 5 Order invalidated; and to enjoin the state court from

enforcing the Contempt Order. ECF 1 at 20. To find for

Plaintiff, this Court must review and set aside the March 5

Order, the Vermont Supreme Court’s decision affirming that

order, the Contempt Order, and the denial of Plaintiff’s request

for reconsideration of the Contempt Order. Thus, each of

Plaintiff’s claims meet the third requirement for Rooker-Feldman

applicability.

     Assessment of the second element of Rooker-Feldman

applicability requires analysis of each of Plaintiff’s claims.

To satisfy the second element of the Second Circuit’s Rooker-

Feldman test, the Court must find that “the plaintiff complains

of injuries caused by the state court judgment[s].” McKithen,

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626 F.3d at 154. As the Court recently reiterated in Hunter,

this requirement is “core” to the Rooker-Feldman requirements.

No. 21-1473, 2023 WL 4671281 at *6 (internal quotations

omitted). The Second Circuit has outlined a “formula” to “guide

[this] inquiry: a federal suit complains of injury from a state-

court judgment, even if it appears to complain only of a third

party’s actions, when the third party’s actions are produced by

a state-court judgment and not simply ratified, acquiesced in,

or left unpunished by it.” Id. (quoting Hoblock, 422 F.3d at 88

(emphasis added)). “Rooker-Feldman does not bar claims based on

opponent’s misconduct that precedes the state court proceeding,

if the plaintiffs’ alleged injuries were merely ratified by the

state-court judgments rather than caused by them.” Dorce v. City

of New York, 2 F.4th 82, 104 (2d Cir. 2021) (internal quotation

marks omitted an emphasis added). Thus, for Rooker-Feldman to

jurisdictionally bar a case, there must be a “causal

relationship between the state-court judgment and the injury of

which the party complains in federal court.” Hunter, No. 21-

1473, 2023 WL 4671281 at *7 (quoting McKithen, 481 F.3d at 98).

     In Hunter, the Second Circuit held that certain claims did

not satisfy the causal-relationship requirement. Hunter

concerned a custody dispute in which a mother’s parental rights

over her minor son were terminated in state court proceedings.

Prior to the commencement of the state court proceedings, Child

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Protective Services took custody of the minor child. The Second

Circuit explained that because Hunter alleged that “some of the

defendants conspired—before any decisions were issued by the

family court—to discriminate against her on the basis of race,

to conduct unlawful searches and seizures, and to defame her,

among other claims,” and took custody over her son before the

commencement of the family court proceedings, the “state-court

judgment did not produce this alleged earlier-in-time conduct,

though it may have adjudicated the legitimacy of the conduct

after the fact.” Id. For these reasons, the Court held that even

if the first element of Rooker-Feldman had been met, which it

was not, then Rooker-Feldman failed at the second step.

     In this case, Plaintiff’s first claim alleges selective

enforcement of Pawlet zoning regulations in violation of the

Equal Protection clause. Specifically, this claim alleges that

all Defendants—including the Town of Pawlet and Judge Durkin—

“failed to interpret NOV2 in good faith,” “sought to expand the

scope of NOV2,” “unlike other similarly situated persons, [ ]

refused to provide reasonable accommodations to Plaintiff,” and

“sought to compel Plaintiff, under threat of incarceration, to

remove his shooting ranges,” all “in violation of Plaintiff’s

constitutional rights.” ECF 1 at 13-14, ¶¶ 61-71.

     Plaintiff’s claim for selective enforcement is distinct

from the claims at issue in Hunter that predated the state-court

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action. First, Plaintiff has named Judge Durkin as a Defendant

in this claim, making clear that the Plaintiff views Judge

Durkin’s state-court judgments as a source of his injuries.

Second, none of Plaintiff’s alleged injuries occurred prior to

the commencement of the action, but rather the state-court

judgments themselves produce his injuries. Plaintiff’s Response

in Opposition to the Motions to Dismiss argues that his injuries

“were sustained by the Town’s motivations for issuing the NOV,”

and that the Environmental Court simply ratified the Town’s

issuance, interpretation, and enforcement of the NOV. ECF 16 at

14. But Plaintiff’s pleadings do not align with this argument.

To the contrary, Plaintiff’s first cause of action does not

challenge NOV2 on its own terms, but rather alleges that the

Defendant’s interpretation of NOV2 unlawfully expanded its

scope. ECF 1 at 13-15. In particular, the first claim takes

issue with the state-court’s conclusions regarding what

structures on his property fall under the scope of the NOV and

the measures the state court deemed necessary to compel

compliance with the March 5 Order. While NOV2 predated the state

court’s role in this dispute, Plaintiff’s first claim does not

allege that NOV2 caused his injuries. Rather, the first claim

specifically identifies Judge Durkin’s and the Town’s

“expansion” of NOV2, which occurred once the state-court action

was commenced, as the source of his injuries. Accordingly, there

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is a direct, causal relationship between Judge Durkin’s March 5

Order and Contempt Order and Plaintiff’s alleged injuries. The

Court therefore finds that Plaintiff’s first claim satisfies the

second element of Rooker-Feldman application.

     Plaintiff’s second claim for violation of the Equal

Protection Clause alleges that all Defendants “intentionally

treated [Plaintiff] differently from other similarly situated

individuals due to the nature of his intended operations –

namely, firearms related training and education.” Plaintiff

alleges that each of the Defendants, including Judge Durkin and

the Town, “seek to compel Plaintiff under threat of

incarceration to remove” structures on his property. ECF 1 at

15-16, ¶¶ 73-83. Specifically, Plaintiff alleges that the

structures which the state court is compelling him to remove,

including shooting ranges and farming structures, are protected

by his right to bear arms and farming exemptions from local

zoning regulations. Judge Durkin’s March 5 Order held that these

structures fall under NOV2. Judge Durkin’s Contempt Order

imposes fines and opens an avenue for incarceration to compel

compliance with the March 5 Order. Accordingly, Plaintiff’s

claim directly alleges that the Court’s decisions are “ultra

vires” and have been made “under color of law and in violation

of Plaintiff’s constitutional rights.” Again, Plaintiff does not

challenge the NOV itself, but challenges the state-court’s

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interpretation of the NOV, which Plaintiff argues is over

expansive and unconstitutional. Defendant’s injuries complained

of in his second claim, therefore, were produced by the state-

court judgment.

     Plaintiff’s third cause of action alleges that all

Defendants violated the Due Process Clause of the Fourteenth

Amendment by arbitrarily depriving him of his property

interests. Plaintiff alleges that “Defendants voided the June

2018 Permit in violation of the law,” and threaten incarceration

to compel removal of his shooting ranges and farming structures.

According to Plaintiff, these deprivations of his property

occurred “when the Defendants wrongfully (a) voided the June

2018 Permit and (b) ordered the destruction and removal of the

shooting ranges, berms, and farming structures under threat of

incarceration.” ECF 1 at 17, ¶ 92. Judge Durkin’s March 5 Order

voided the June 2018 Permit, and Judge Durkin’s Contempt Orders

employ potential incarceration as a tool to compel Mr. Banyai’s

compliance with the March 5 Order.

     In the Second Circuit, “whatever the full import of the

‘caused by’ and ‘produced by’ language, at least the following

is evident: a party is not complaining of an injury ‘caused by’

a state-court judgment when the exact injury of which the party

complains in federal court existed prior in time to the state-

court proceedings, and so could not have been ‘caused by’ those

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proceedings.” McKithen, 481 F.3d at 98. Accordingly, Plaintiff’s

alleged deprivation of his property interests complained of in

the third cause of action—i.e. the voiding of the June 2018

permit and the court-ordered destruction and removal of

structures on his property—occurred after the state-court

proceedings commenced and are causally related to the state-

court judgments. Thus, Plaintiff’s third cause of action meets

the Rooker-Feldman requirement for a causal relationship between

the state-court judgment and the injury complained of in federal

court.

     Plaintiff’s Fourth Cause of Action alleges that Defendants

violated the Second Amendment by “restraining and prohibiting

the Plaintiff from operating a shooting range on his property.”

Unlike the first three claims, this claim alleges injuries that

do predate the commencement of the state-court proceedings.

Plaintiff’s fourth cause of action specifically targets the Town

of Pawlet’s zoning decision as issued in NOV2. Plaintiff’s

complaint alleges that NOV2 held Plaintiff in violation of the

Pawlet Unified Bylaws Article VIII for “operating a training

facility/shooting school” and required him to “eliminate the

unpermitted uses on the property . . . and not allow unpermitted

uses to resume on the property.” ECF 1 at 9, ¶ 37. While the

state-court judgments enforce NOV2, the harm complained of in

this claim occurred when NOV2 was first issued prior to the

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state-court judgments. Any permanent injunction “restraining

Plaintiff from engaging in any firearms related training

activities on the Property” merely “ratified” NOV2. Thus, the

injury in this case predates the commencement of the state-court

action. Accordingly, this Court does not lack subject matter

jurisdiction to evaluate the Plaintiff’s fourth cause of action.

     For these reasons, the Court concludes that Rooker-Feldman

bars this Court from asserting subject matter jurisdiction over

the first three claims in Plaintiff’s complaint. The Court

accordingly dismisses these claims for lack of subject matter

jurisdiction.

III. The Town of Pawlet’s Rule 12(b)(6) Motion to Dismiss on
     Claim Preclusion Grounds

     Defendant Town of Pawlet additionally moves the Court to

dismiss Plaintiff’s complaint under Fed. R. Civ. P. 12(b)(6) on

claim preclusion grounds.

     “Under the Full Faith and Credit Act, 28 U.S.C. § 1738, a

federal court must apply Vermont claim preclusion law to Vermont

state court judgments.” Demarest v. Town of Underhill, No. 22-

956, 2022 WL 17481817, at *2 (2d Cir. Dec. 7, 2022); see also

Migra v. Warren City School Dist. Bd. of Education, 465 U.S. 75,

81 (1984). “The res judicata effect of state-court decisions in

§ 1983 actions is a matter of state law.” Heck v. Humphrey, 512

U.S. 477, 480 n.2 (1994) (internal citations omitted).



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     In Vermont, claim preclusion “bars the litigation of a

claim or defense if there exists a final judgment in former

litigation in which the parties, subject matter, and causes of

action are identical or substantially identical.” In re Burns 12

Weston St. NOV, 2022 VT 37, ¶ 13. In other words, claim

preclusion acts as a bar to litigation if “(1) a previous final

judgment on the merits exists, (2) the case was between the same

parties or parties in privity, and (3) the claim has been or

could have been fully litigated in the prior proceeding.”

Iannarone v. Limoggio, 190 Vt. 272, 279 (2011) (quoting In re

St. Mary’s Church Cell Tower, 180 Vt. 638, 638 (2006)). The

doctrine “bars parties from relitigating, not only those claims

and issues that were previously litigated, but also those that

could have been litigated in a prior action.” Grundstein v. Vt.

Bd. of Bar Examiners, No. 21-1549, 2022 WL 1669459, at *1 (2d

Cir. May 26, 2022) (summary order) (quoting Carlson v. Clark,

185 Vt. 324, 330 (2009)).

     Plaintiff does not dispute that this action meets the first

and second elements of claim preclusion: that this case involves

several final judgments on the merits in past state litigation

between Mr. Banyai and the Town of Pawlet. Plaintiff contends,

however, that he did not and could not have litigated his 42

U.S.C. § 1983 claims in the prior action, and therefore claim

preclusion does not bar his claims.

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     “Vermont applies a transactional test to determine if the

subject matter and cause of action are the same in both cases.”

Grundstein, No. 21-1549, 2022 at *2 (2d Cir. May 26, 2022)

(summary order) (citing Faulkner v. Caledonia Cnty. Fair Ass’n,

178 Vt 51, 56 (2004)). “The subject matter and causes of action

are thus considered the same if the operative facts are the

same.” Id. The court considers “whether the same evidence will

support both” causes of action, Demarest v. Town of Underhill,

2021 Vt 14, ¶ 13 (quoting Faulkner, 178 Vt. at 57), “whether the

facts are related in time, space, origin, or motivation, whether

they form a convenient trial unit, and whether their treatment

as a unit conforms to the parties’ expectations or business

understand or usage,” Restatement (Second) of Judgments § 24.

     Under the transactional test, the Court concludes that each

of Plaintiff’s claims in this federal case arise out of the same

set of operative facts as those underlying the state court

judgments against Mr. Banyai. Both the state and federal cases

concern the Zoning Administrator’s issuance of the appealed

NOV1, the June 2018 Permit, the unappealed NOV2, and the Town’s

lawsuit to enforce NOV2. ECF 1 at ¶¶ 17-56. While the four

causes of action in Plaintiff’s federal complaint were not

brought during the proceedings in the Vermont Environmental

Court, each cause of action asks the Court to draw legal

conclusions that are contrary to judgments rendered in the prior

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litigation. Plaintiff claims that the June 2018 permit is

legally valid, that NOV2 does not apply to his training

facilities, and that use of his training facilities and farming

structures on his property complies with the March 5 Order. The

March 5 Order, Vermont Supreme Court decision, and Contempt

Order, however, definitively settled these issues against Mr.

Banyai. In particular, the Vermont Supreme Court held:

     landowner has only one valid permit, the October 2018
     Permit for a garage/residential apartment, and his
     current school improvements and uses of his property
     are violations of the Bylaws; by failing to appeal
     NOV2, he is precluded from arguing his uses detailed
     in the notice of violation are either not subject to
     the Bylaws or in conformance with the Bylaws, and from
     relying on the June 2018 Permit.

Banyai, 216 Vt. 189, 198 (2022). The Court finds each of

Plaintiff’s claims concerning the validity of the June 2018

permit and the scope of NOV2 to have been settled by prior

litigation. Accordingly, this action is the “same or

substantially identical” for claim preclusion purposes.

Faulkner, 127 Vt. at 57.

     Nonetheless, Plaintiff asserts that the Town cannot meet

the third element because Plaintiff’s 42 U.S.C. § 1983 claims

were not and could not have been fully litigated in the prior

litigation on account of the limited jurisdiction of the

Environmental Court. The Court determines that Plaintiff’s




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constitutional questions are within the purview of the

jurisdiction of the Environmental Court.

     Under 24 V.S.A. 4472(a), an appeal to a superior court is

“the exclusive remedy of an interested person with respect to

any decision . . . under this chapter.” Under subsection (d),

all parties are bound by a board decision in absence of an

appeal, and “shall not thereafter context, either directly or

indirectly . . . such decision of the board in any proceeding.”

Accordingly, the Vermont Supreme Court has held that a

“plaintiff’s exclusive remedy to attack the board decision [is]

to appeal and failure to do so forecloses further review.”

Hinsdale v. Vill. of Essex Junction, 153 Vt. 618, 625 (1990).

The Supreme Court has further explained that while 24 V.S.A.

4472(b) “allows [a] plaintiff to attack the constitutionality of

a provision of the zoning ordinance [in a separate action]; it

does not authorize a constitutional attack on the application of

the ordinance to [their] particular facts.” Such an attack, the

Court held, must be done in the appeal, not through “collateral

attack.” Id.

     Each of Plaintiff’s four claims against the town raise a

constitutional attack to the application of the Town’s Bylaws to

his property. He alleges selective enforcement and differential

treatment in violation of the Equal Protection Clause,

deprivation of his property interests in violation of the Due

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Process Clause of the Fourteenth Amendment, and denial of his

right to operate a shooting range on his property in violation

of the Second Amendment. Each of these claims are properly

raised in the Environmental Court on an appeal of the issuance

of the notice of violation against him, which he chose not to

pursue. See, e.g., In re Letourneau, 168 Vt. 539, 548 (1998);

Down River Invs. LLC CU, No. 139-12-18 VTEC, 2020 WL 98120000,

at *7 (Vt. Super. June 30, 2020); Town of Charlotte v. Aube-

Hinsdale, No. 77-4-00VTEC, 2001 WL 35959870 (Vt. Envtl. Ct. Aug.

10, 2001) (“Defendant argues that the zoning bylaws are being

selectively enforced in her neighborhood.”). Accordingly,

Plaintiff could and should have litigated his present claims in

the Environmental Court in an appeal of the issuance of NOV2 or

during the Town’s enforcement action against him.

     Plaintiff further cites to Littlefield v. Town of

Colchester for the premise that 24 V.S.A. § 4472 does not bar a

Plaintiff from bringing a separate action for unconstitutional

deprivation of property under 42 U.S.C. § 1983 instead of

bringing the claim during an appeal of a zoning decision. 150

Vt. 249, 250 (1988). In that case, however, the Vermont Supreme

Court determined that because the Plaintiff had previously

voluntarily dismissed his appeal with prejudice, which is

“treated as an adjudication on the merits,” the Plaintiff could

“no longer allege—by virtue of his voluntary dismissal with

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prejudice—the injury necessary to make out a damages claim under

42 U.S.C. § 1983” because that issue had already been settled

against him. Id. at 251. Thus, while 24 V.S.A. § 4472 does not

bar a separate action for damages under 42 U.S.C. § 1983, the

doctrine of claim preclusion stands in the path of a plaintiff

who brings their § 1983 claim after losing on the merits of

their prior zoning appeal.

     Finally, Plaintiff argues that claim preclusion is

inapplicable to this case because Vermont Rule of Civil

Procedure 60(b) permits the Plaintiff to file this independent

action to seek relief from the final judgments against him on

account of misconduct by the Town. The Vermont Rules of Civil

Procedure govern the procedure in the Civil and Criminal

Divisions of the Superior Court and in the Judicial Bureau of

the State of Vermont. Vt. R. Civ. P. 1. They have no application

in this Court. Plaintiff’s action, therefore, is not made under

Rule 60(b) of the Vermont Rules of Civil Procedure. And, even if

the rule was applicable in this Court, it would not permit

Plaintiff to evade the preclusive effect of res judicata in this

case. See Cody v. Estate of Cody, 134 Vt. 113, 114 (1976).

     In sum, the Court concludes that Plaintiff’s constitutional

claims “could have been fully litigated in the prior

proceeding.” Iannarone v. Limoggion, 190 Vt. 272, 279 (2011). As

each of Plaintiff’s claims against the Town of Pawlet meet the

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requirements for claim preclusion, the Court finds that Vermont

claim preclusion law bars Plaintiff’s present action against the

Town in its entirety. Accordingly, the Town’s 12(b)(6) Motion to

Dismiss is granted. 1

IV.   Plaintiff’s Motion to Amend the Complaint

      Finally, Plaintiff has moved to amend his Complaint

pursuant to Federal Rule of Civil Procedure 15(a)(2). Under Rule

15(a)(2), a party may amend their pleading with the Court’s

leave, which the Court “should freely give when justice so

requires.” In this case, Plaintiff’s request for leave to amend

his complaint has proven futile. Plaintiff’s motion concedes

that the “proposed amendment does not directly affect the

contents of the Town’s pending motion to dismiss.” ECF 17 at 3.

As the Court has ultimately granted the Defendants’ motions to

dismiss the complaint in its entirety, and as the Plaintiff

concedes that the contents of the amended complaint would have

no bearing on the outcome of those motions, the Plaintiff has

failed to demonstrate that justice requires the Court to grant

his motion to amend. Accordingly, Plaintiff’s motion to amend is

denied.

                                 CONCLUSION



1 As the Court grants the Defendants’ motions to dismiss on account of

judicial immunity, the Rooker-Feldman Doctrine, and claim preclusion, the
Court does not assess the merits of the Defendants’ arguments for dismissal
under the Younger Doctrine.

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     For the foregoing reasons, Defendants’ Motions to Dismiss

(ECF 12, ECF 15) are granted, Plaintiff’s Motion to Amend (ECF

17) is denied, and Plaintiff’s Complaint is dismissed. Judge

Durkin’s Motion to Dismiss is granted on the basis of judicial

immunity. The Town of Pawlet’s 12(b)(1) Motion to Dismiss for

lack of subject matter jurisdiction under Rooker-Feldman is

granted as to the first three causes of action against the Town,

but denied as to the fourth cause of action. Even if Plaintiff’s

first three causes of action against the Town were not

jurisdictionally barred under Rooker-Feldman, the doctrine of

claim preclusion independently bars Plaintiff’s entire action

against the Town. Accordingly, the Town’s 12(b)(6) Motion to

Dismiss for failure to state a claim upon which relief may be

granted is granted on the basis of claim preclusion as to all

four causes of action.



     DATED at Burlington, in the District of Vermont, this 7th

day of August, 2023.

                                        /s/ William K. Sessions III
                                        William K. Sessions III
                                        U.S. District Court Judge




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